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                               UNITED STATES DISTRICT COURT
    5                         CENTRAL DISTRICT OF CALIFORNIA
    6

    7 CURTIS MARKSON, et al.,

    8               Plaintiffs,                             CASE NO. 5:17-cv-01261
    9
                                                            DEFENDANT SCHNEIDER
   10         vs.                                           NATIONAL CARRIERS’ MOTION
                                                            TO APPEAR REMOTELY VIA
   11                                                       ZOOM AT HEARING ON
                                                            DEFENDANTS' MOTION FOR
   12 CRST INTERNATIONAL, INC., et al.,                     SUMMARY JUDGMENT
   13               Defendants.                             [Filed concurrently with Declaration of
                                                            Nicholas J. Giles and Proposed Order]
   14
                                                            Date: August 5, 2022
   15                                                       Time: 8:30 A.M.
                                                            Place: Courtroom 6C
   16                                                       Judge: Hon. Stanley Blumenfeld
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                                  Schneider's Motion to Appear Remotely via Zoom
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    1 TO THE COURT, PARTIES, AND ALL ATTORNEYS OF RECORD:

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              Pursuant to this Court’s Civil Standing Order, Defendant Schneider National
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    4 Carriers (“Schneider”) respectfully requests that this Court grant leave for its counsel

    5 Nicholas J. Giles to appear remotely via Zoom at the August 5 hearing

    6
        on the Non-Settling Defendants' Motion for Summary Judgment.
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    8         Schneider submits that good cause exists as Mr. Giles, who is lead counsel for

    9 Schneider in this matter, works and resides in Richmond, VA, and would incur

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        significant travel expenses traveling to Los Angeles to attend the hearing. Because
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   12 Schneider has settled and is not moving for summary judgment, Schneider does not

   13 anticipate that Mr. Giles will        participate at the hearing.              Therefore, his
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        attendance via Zoom will enable             Schneider       to    conserve   costs     without
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   16 prejudicing either the parties or the Court’s ability to decide the motion.

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                                                         Respectfully submitted,
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   21                                                    McGuireWoods LLP
   22                                            By:     /s/ Nicholas J. Giles
   23
                                                         Nicholas J. Giles
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   25                                                    Counsel for Defendant               Schneider
                                                         National Carriers, Inc.
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   27 DATED:        August 2, 2022
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                               Schneider's Motion to Appear Remotely via Zoom
